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                  EXHIBIT A
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4th May 2023


My name is Crystal Gendusa, and I am the sister of Kelly Meggs. I am taking the time this evening
to sit and write this letter on his behalf. I am sure that you have had the opportunity to read many
different letters of this type during your time involved with the law and in particular with the
sentencing of individuals. I am hoping that despite that, you will read this with an open mind, and
understand the heartfelt nature with which I write it.

My brother Kelly is five years older than me, and we have always been close, but something
happened a little under five years ago that bonded us in a way that just being siblings could not.
Our mother, whom we were both extremely close to, was diagnosed with a brain tumor. An
unfathomable, inoperable brain tumor that took her life just 9 weeks later at the age of 72. My
brother and I for 9 solid weeks worked together exhausting any and all options available to
prolong her life. My brother was tireless, he called every brain tumor trial going on throughout the
country, he spoke with physicians, techs, whomever he could get ahold of to try and get help. He
also made the long trip up to Tallahassee at least weekly to see her, and usually twice a week.
During this time, my brother and I spoke multiple times a day, and after my mom’s passing, we
continued to talk daily if not multiple times a week during my brother’s long work commute. He
was and still is a huge support to me and a vital part of my life. I feel that I can speak very
honestly as to his character. He is an extremely hard working, dependable, smart, unselfish man
that has always had a concern for the welfare of others. He is the first person to literally pull over
and help a complete stranger stopped on the side of the road, and I've seen him do just that
more than a few times, and I have been a witness to his generosity and loving nature for a long
time.

My brother has a huge love for his family and friends, he is a giver. He is always thinking of others
and providing for them. He has always been extremely generous and taken very good care of his
wife, children as well as his grandchildren. He is sorely missed by his family, and has a
granddaughter that he hasn’t even been able to know. His wife, son, daughter and children miss
him a great deal and it is excruciating for them not having their dad and papa in their lives on a
daily basis. I as well as my other brother and my aging father miss him a great deal as well. He
has also been the sole breadwinner for his family, and him not being home has greatly impacted
his family and their abilities to be financially supported. He is greatly missed by his entire family,
and we are hopeful that he will be home very soon. I ask that you consider what he and his family
have been through already and would show leniency on him.

Sincerely,

Crystal Gendusa
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May 2, 2022



The Honorable Amit Mehta
U. S. District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, DC 20001



Dear Judge Mehta,

We respectfully submit this letter of character reference on behalf of Kelly Meggs for your
consideration with regard to his upcoming sentencing.

As members of the television media, we have conducted over one hundred long format
interviews with dozens of pretrial, convicted, and sentenced individuals involved with the events
that took place in Washington, DC between January 5-6, 2021.

As you might imagine, during the many hours of “J6” interviews, we have come to our own
conclusions and opinions of the various interviewees. Some have been credible, others, we have
found not to be credible.

In the last year, there are a small handful of J6 Defendants that we have held many conversations
with, two of which are Kelly Meggs and his wife Connie Meggs. Not only have we held
countless conversations with both Kelly and Connie, but their children and grandchildren as
well.

While all members of the Meggs family are projecting strength, the bottom line is that their lives,
as a secure family unit, have been destroyed. The stress and heartache they are experiencing is
something we cannot imagine, and I pray no one ever has to endure.

During this past year, through the many discussions with Kelly, Connie, their children and
grandchildren, we have been able to learn a great deal about what was once a strong family unit,
as well as the moral character of Kelly Meggs.

Our most obvious observation from Connie, their children, and their grandchildren, is that their
provider and source of the family’s security has been missing for the past two years. The future
of the Meggs family is now, very much uncertain.

In addition, we’ve had countless conversations with Kelly Meggs. We have found that he is a
man of honor and integrity. He is a man who provided security and stability for his family. He
provided his wife with a trustworthy, responsible gentleman. He provided his son with a role
model and a hero. He provided his step-daughter with a loving father who raised her as if he
were her biological father. He provided his grandchildren with a doting and loving grandfather.
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Prior to his arrest, Kelly was a well-respected member of his community, and a successful
businessman.

Of all the conversations that we had with Kelly, during formal interviews, as well as casual
personal conversations, one stands high among the rest. It was a conversation that took place
shortly after his conviction in the first Oath Keepers’ trial.

Kelly was distraught after his conviction. His concern was that Connie would not be willing to
wait for him to return home, and that their marriage would end in divorce.

We assured him that Connie would wait. But understandably, Kelly had his doubts.

It was at that point, we decided that we wanted to do something to help shore up the strength in
the Meggs’ family unit, specifically the marriage of Kelly and Connie.

The day that Kelly and Connie were arrested, Connie was unable to board the plane and was
detained in Florida. The reason… her wedding rings. Over the many years of wearing her
wedding rings, and arthritis in her fingers, Connie was unable to remove her wedding rings after
being arrested.

Prior to Connie going into jail in central Florida, her wedding rings were cut off her finger and
badly damaged.

When she was released to home confinement, she received the pieces of her damaged wedding
rings in a plastic bag. She took the bag home, stuck them in a drawer, and that was the end of
that. No more wedding set.

We learned of this in early December of 2022. We knew immediately how we could help to
shore up the Meggs’ marriage and family unit. Connie’s wedding rings needed to be back on her
finger where they were before the arrest.

So, we contacted a jeweler in their town, and instructed him to repair Connie’s wedding rings at
all costs. We then asked Connie to take her wedding rings to the jeweler to have them repaired.
This was our gift to the Meggs’ family for the holidays.

Kelly needed to know Connie was again wearing her wedding rings. Connie needed to again
feel her wedding rings on her finger. And… their children and grandchildren needed to once
again see their mother and grandmother wearing her wedding rings.

Your Honor, it’s the little things that mean so much.

We have come to know the entire Meggs family. This is a good family. It is a good family unit
for the community.
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In thinking back over all our interviews with J6ers, we can without reservation, state that we
would be willing to write a character reference for only a handful of people.

Kelly Meggs and Connie Meggs are two of those people.

We simply, and respectfully, ask for your compassionate consideration regarding your final
sentencing decision for Kelly Meggs. And that somehow you can find it reasonable and just to
allow him to rejoin his family, and return once again, to be a respected member of his
community.

It is with high respect for you that we remain…

Sincerely,




Don Neuen                                            Donna Fiducia
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Dear Honorable Judge,


My name is Candace Smith and Kelly Meggs is my Brother-in-Law. I have known Kelly for 26
years. Kelly has been a wonderful and devoted family man. He has alway been kind and fun to
be around. I would call him a gentle giant. He has been an upstanding and hard working citizen
and never has a bad word about anyone.

What has always impressed me the most is his commitment to his family. He has always taken
care of everything for his wife, 2 children and 3 young grandchildren. He has always taken care
of all of them both financially and emotionally.

Kelly and his family have suffered so much. Several years ago their home burned down. They
were devastated and lost everything. Kelly held the family together and they began again to
build a new life on a small farm. Once again being the sole provider for the family he provided a
wonderful nurturing home for his family. His and his families love of animals was what they
needed to help them recover from the wounds of their loss.

Kelly’s entire family live on the farm, his wife,two children and 3 grandchildren. Without Kelly
financial support once again the family risks losing everything again .

This family missed their husband, father and Papa.

No good purpose is served by taking someone like Kelly from his family. In addition to his
immediate family the rest of us miss him terribly. He doesn’t have a mean or violent bone in his
body. We miss his jokes and funny laugh.

Holidays and family is very important to Kelly and our family. For three years our holidays have
been somber occasions. Our mother is 87 and she deserves our family together in her last
years. My father died last year and was so sad on his death bed because he didn’t get to see
Kelly before passed. When Kelly’s mother was dying he was right there taking care of her and
he was crushed when she passed.

We miss Kelly and our family can’t be whole until he is returned to us. Kelly has been punished
enough please send him home where he belongs so he can go back to being the hard
working,productive citizen and family man he is.

Candace Smith
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Dear Honorable Judge

Thank you for taking the time to read my thoughts on Kelly Meggs. Let me preface this by
acknowledging he is my Brother-in Law.

I have known Kelly 24 years. He and I worked together at a Volvo Dealership in West Palm
Beach, Florida. Kelly was hired as our sales manager. He was a warm welcome to our group.
He always treated the customers with honesty, respect and of course humor. Kelly is a big man
with a big heart to match and the customers left with their new car and a smile on their face.
Kelly and his wife and their two kids moved to Ocala a few years later. They loved the gorgeous
horse farms and slower paced living. Grandkids soon followed and Kelly loves them as
Grandpas do. He was an excellent provider for his growing family.

Kelly was hit hard by the death of his mother, whom he worshipped and adored. He was also
devastated when his home burned to the ground in the middle of the night. Kelly’s family all got
out with just the clothes on their back. They did lose a couple of their beloved pets.

Kelly put on his man shoes and took a higher paying job in Lake City, Florida. He took the
general Managers job which requires many more hours of work, nights weekends,holidays and
this meant much time away from his family. They were able to find a new home where they
,their children and grandchildren could all live.

It is heartbreaking to see Kelly being incarcerated. His family has suffered tremendously for the
last three years. His Grandson always wonders why Papa hasn’t been here for the last three
Easter’s. Thank you for your time and please return Kelly to us.

Jeffrey Smith
